










NO. 07-09-0216-CV

IN THE COURT OF APPEALS

FOR THE SEVENTH DISTRICT OF TEXAS

AT AMARILLO

PANEL D

JULY 9, 2009
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;______________________________

In the Interest of N.J.N., A Child
_________________________________

FROM THE 64th DISTRICT COURT OF HALE COUNTY;

NO. A35860-0801-A; HONORABLE ROBERT W. KINKAID, JR., JUDGE
_______________________________


Before QUINN, C.J., and CAMPBELL and PIRTLE, JJ.
ABATEMENT AND REMAND
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Following termination of his parental rights, appellant Ignacio Navarro filed a pro se
notice of appeal in which he indicates that he is indigent.  We abate the appeal and
remand the cause.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In Texas, there is a statutory right to counsel for indigent persons who respond in
opposition to a parental termination case filed by a governmental entity.  Tex. Fam. Code
Ann. § 107.031(a)(1) (Vernon Supp. 2006); see also In re M.S., 115 S.W.3d 534, 544 (Tex.
2003).  Therefore, we abate the appeal and remand the cause to the trial court for further
proceedings.  Upon remand, the trial court is directed to determine if appellant is indigent
and whether an attorney ad litem should be appointed to represent him on appeal.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Should the trial court determine that appellant is indigent and entitled to an attorney
ad litem, the trial court is directed to appoint counsel and provide counsel’s name, address,
telephone number, and state bar number to the clerk of this court immediately upon such
appointment.  Any orders issued shall be included in a supplemental clerk’s record to be
filed with the Clerk of this Court on or before August 10, 2009.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The trial court is directed to hold any hearings it deems necessary to comply with
this order.  Any such hearings shall be recorded and a supplemental reporter’s record
containing these hearings shall be filed with the Clerk of this Court on or before August 10,
2009.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;It is so ordered.
&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Per Curiam


